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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,
                                                           Hon. Paul L. Maloney
v.
                                                           Case No. 1:17-cr-00100
SHAWN DEMETRIOUS TATE,

      Defendant.
________________________________/

                      REPORT AND RECOMMENDATION


      Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the

captioned case on November 29, 2017, after receiving the written consent of

defendant and all counsel. At the hearing, defendant Shawn Demetrious Tate

entered a plea of guilty to Count 1 of the Superseding Indictment in exchange for

the undertakings made by the government in the written plea agreement. In Count

1 of the Superseding Indictment, defendant is charged with conspiracy to distribute

and possess with intent to distribute one kilogram or more of a mixture or

substance containing heroin, in violation of U.S.C. §§ 846 and 841(a) and (b)(1)(A) .

      On the basis of the record made at the hearing, I find that defendant is fully

capable and competent to enter an informed plea; that the plea is made knowingly

and with full understanding of each of the rights waived by defendant; that it is

made voluntarily and free from any force, threats, or promises, apart from the

promises in the plea agreement; that the defendant understands the nature of the
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charge and penalties provided by law; and that the plea has a sufficient basis in

fact.

         Accordingly, I recommend that defendant's plea of guilty to Count 1 of the

Superseding Indictment be accepted, that the court adjudicate defendant guilty,

and that the written plea agreement be considered for acceptance at the time of

sentencing. Acceptance of the plea, adjudication of guilt, acceptance of the plea

agreement, and imposition of sentence are specifically reserved for the district

judge.


Date: November 30, 2017                          /s/ Phillip J. Green__________
                                                PHILLIP J. GREEN
                                                United States Magistrate Judge


                                NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district
judge. Any application for review must be in writing, must specify the portions of
the findings or proceedings objected to, and must be filed and served no later
than14 days after the plea hearing. See W.D. MICH. L.CR.R. 11.1(d).




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